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     1                                                                         CLERK, U.S. DiS1"RICT COU

     2
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     3
                                                                                           ACT OF
     4                           UNITED STATES DISTRICT COUR'~~~~                     ~/

     5                         CENTRAL DISTRICT OF CALIFORNIA
     6
            IN RE: NATIONAL FOOTBALL                       Case No. 2:15-m1-02668-PSG (JE1V~)
     7      LEAGUE'S"SUNDAY TICKET"
            ANTITRUST LITIGATION                                     ORDER
     8                                                      EGARDIN MODIFICATIONS
            THIS DOCUMENT RELATES TO                       TO SCHEDULING ORDER
     9      ALL ACTIONS
    10

    11            Having considered the parties' Stipulation Regarding Modifications to
    12      Scheduling Order and finding good cause therein, the Court ORDERS that the
    13      schedule be adjusted as set forth below:
    14
                                  Event                              Current         Proposed
    15
            Plaintiffs' Reply Brief on Class Certification         12/2/22         No change
    16

    17      Plaintiffs' Opposition to NFL Daubert Motions          12/2/22         No change

    18      Plaintiffs' Daubert Motions                            12/2/22         No change
    19
             NFL Reply Briefs on Daubert Motions                   12/16/22        No change
    20
            NFL Opposition to Plaintiffs' Daubert Motions          12/16/22        No change
    21 '~

    22
            Plaintiffs' Reply Briefs on Daubert Motions            12/30/22        No change

    23
            Hearing on Class Certification and Daubert             1/27/23         No change
            Motions
    24      Plaintiffs Serve Opening Merits Expert Reports         1/27/23         2/10/23
    25      Deadline for NFL to Serve Responsive Merits
            Expert Reports                                         4/7/23          4/21/23
    26
            Plaintiffs to Serve Rebuttal Merits Expert             5/19/23         6/2/23
    27      Reports
    28
                                                       1
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                                    #:20599


     1    Close of Expert Discovery                             6/9/23          6/23/23
     2    Summary Judgment Motions                              7/21/23         7/28/23
     3
          Summary Judgment Oppositions                          8/21/23         8/28/23
     4
          Summary Judgment Reply Briefs                         9/22/23         9/29/23
     5

     6    Summary Judgment Hearing Date                         10/27/23        No change
     7    Final Pretrial Conference                             2/9/24          No change
     8
          Trial                                                 2/22/24         No change
     9

    10            No other changes to the Court's prior orders are contemplated as a result ofthe
    11   changes above.
    12                                                  IT IS SO ORDERED.
    13                                                        e~~~%i~
    14   Dated:        ~-
    15                                                  PHILIP S:GUTIERREZ
                                                        Chief United States District Judge
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